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                   EXHIBIT A-4
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                                                                  2 of 4County Superior Court
                                                                                  ***EFILED***TG
                                                                         Date: 8/21/2023 9:06 AM
                                                                            Che Alexander, Clerk

                 IN THE SUPERIOR COURT OF FULTON COUNTY
                            STATE OF GEORGIA

State of Georgia                             ▪


V.                                           ▪     CASE NO. 23SC188947



Donald John Trump                            ▪


     REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
               RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned hereby requests permission to use a recording device in
Courtroom 5A in order to         record images and/or     sound during all or
portions of the proceedings in the above captioned case/calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s):     computer of any size, including a
tablet, a notebook, and a laptop;  smart phone, a cell phone or other wireless
phone;      camera and other audio or video recording devices      any similar
devices       .

The proceedings that the undersigned desires to record commence on (date and
time)Aug. 21-25, Aug. 28-Sept. 1, Sept. 5-8. Subject to direction from the
court regarding possible pooled coverage, the undersigned wishes to use this
device in the courtroom on (date and time) Aug. 21-25, Aug. 28-Sept. 1, Sept. 5-
8.

The personnel who will be responsible for the use of this recording device are:
(identify appropriate personnel or individual)A still photographer from The
Associated Press, The Atlanta Journal-Constitution, Getty Images,
Reuters or EPA.



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The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.
*Notice to Requesting Agency or Individual*
In order to be deemed timely by the Court, this request must be
submitted 24 business hours prior to the proceeding for which it is
requested due to mandatory notice requirements.

Mike Stewart
(News Agency/Media Outlet/Law Firm/Individual Representative)

bmstewart@ap.org
(Email Address)

646-823-5818
(Phone Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
                 Approved
                        Disapproved
              The requesting agency:
                      Shall be pool for its media
                        Shall not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

                21st
So ORDERED this _____day    August
                         of ________________________________, 2023
                                                              _______.




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                    Judge of Superior Court of Fulton County
                             Atlanta Judicial Circuit




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